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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )
                                                 )
                       Plaintiff,                )                     4:06CR3062
                                                 )
               v.                                )
                                                 )
ROBERT BERLIE,                                   )                       ORDER
                                                 )
                       Defendant.                )
                                                 )


       On July 2, 2008, the defendant appeared in person with his attorney, John C. Vanderslice.
The United States was represented by Alan Everett, Assistant United States Attorney. Defendant
admits he violated Standard Condition 4 and 7 and Special Condition 9 of his terms and
conditions of supervised release. The Court finds that the admission is knowing, intelligent, and
voluntary and there is a factual basis for the admission and finds the defendant did violate the
terms and conditions of supervised release as alleged in the Report on Offender under
Supervision (filing 183).

        On April, 14, 2009, the disposition hearing was held. The United States was represented
by Bruce Gillan, Assistant United States Attorney. The defendant was present and represented
by his attorney, John C. Vanderslice.

        IT IS ORDERED: The Court finds that the defendant violated the conditions of
supervised release, but elects not to terminate defendant's conditions of supervised release, but
rather to maintain them as previously set forth in the original Judgment and Committal Order
entered on November 1, 2006.


       DATED this 16th day of April, 2009.

                                                BY THE COURT:

                                                s/Richard G. Kopf
                                                United States District Judge
